CaS

TIIE

SAM BERNSTEIN

LAW FIRM
3\73| NoRTHwESTERN HlGHWAY
sulTE 333
FARMINGTON H|LLS,
MICHIGAN 48334-l669

(BOO) 225-5726

A PROFESS|ONAL L|M|TED
L|AB|L|TY COMFANV

9 2212-CV-11842-P.]D-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.l Page 1 Of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AARON SCHEIDIES,
Plaintiff, Case #:12-1 1842
v.
USA TRLATHLON;
INTERNATIONALTRIATHLON UNION;
and 3-D RACING LLC, a Michigan Lirnited
Liability Company,

Defendants.

\./\./V\_/\_/V\/VV\/\/\/\_/

\

THE SAM BERNSTE]N LAW FIRM
Richard H. Bernstein (P58551)

31731 Northwestern HWy Ste 333
Farrnington Hills, MI 48334

Phone: (248) 737-8400

Ernail: rbernstein@sarnbernstein.corn

Attorneysfor Plaintij

 

COMPLAINT

Plaintiff Aaron Scheidies, by and through his undersigned attorney, hereby sues Defendants,

 

USA TRIATHLON; INTERNATIONAL TRIATHLON UNION; and 3-D RACING, LLC
(Collectively, “Defendants”), and states as follows:
INTRODUCTION
l. Plaintiff brings this action to put an end to the Defendants failure to comply With the

Americans With Disabilities Act of 1990, 42 U.S.C. § 12189, (ADA), namely their

rules and policies governing the sport of Triathlon racing Which discriminate against

 

 

 

Casa 2:12-cv-11842-P.]D-L.]|\/| ECF No. 1 filed 04/25/12 Page|D.Z Page 2 of 16

the blind and visually impaired and result in the denial of equal access to athletic
competition and recreation

2. USA Triathlon, The Intemational Triathlon Union (hereafter “ITU”), and 3-D
Racing, LLC a Michigan Limited Liability Company (hereafter “3-D Racing”), are
discriminating against Plaintiff, and others similarly situated, by enacting,
administering, and enforcing rules and regulations for the sport of Triathlon racing
Which tend to exclude Plaintiff and those similarly situated from equally participating
in the sport. The discriminatory acts and omissions include, but are not limited to,
the following:

a. The Defendants have enforced rules Which require blind or visually impaired
athletes competing in sanctioned triathlon events to Wear “black out glasses”
Which eliminate any residual vision and result in a legally blind athlete, such
as the Plaintiff, losing What vision he has left.

b. The Defendants knows or should know that requiring a legally blind person to
compete totally blind poses substantial danger to not only the competitor but
those around them.

c. The ITU has promulgated Rule 17.14(a)(ix) Which states in pertinent part that
“paratriathletes shall use approved “black out glasses” during the entire run
portion.”

d. USA Triathlon, in accordance With ITU Rule 17. 14(a)(ix) has promulgated

THE Rule P 2.0(f) Which states in pertinent part that “competitors shall use
SAM BERNSTEIN

RM - . .
LAW FI approved “black out glasses” during the entire run portlon.”
3173\ NORTHWESTERN HlGHWAY
SUlTE 333
FARMINGTON HlLLS,

M|CH|GAN 48334~1669

e. 3-D Racing conducts triathlon events in accordance With ITU and USA

Triathlon rules Which require the Plaintiff, and those similarly situated, to
(BOO) 225-5726

A FROFESS|ONAL L|M|TED
L,AB|L|TY COMPANY Wear the dangerous "black out glasses.”

2

 

 

 

Cass

THE

SAM BERNSTEIN

LAW FIRM
3\73\ NoRTHWEsTr-:RN HlGHwAv
susz 333
FARM|NGTON H|LLS,
M|CH|GAN 48334-1669

 

(BOO) 225-5726

A PROFESS|ONAL L|M|TED
L|AE|L|TY COMPANV

 

 

9 2212-CV-11842-PJD-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.S Page 3 Of 16

By ignoring ongoing discrimination and continuing to deny equal access to triathlon
competition to Plaintiff and others similarly situated, the Defendants treats Plaintiff
as a second-class citizen, unjustly disregarding his basic rights to equality and
dignity, and causes embarrassment, humiliation, harassment, emotional distress and
unjustly and unreasonably limit his career opportunities Therefore, Plaintiff seeks
injunctive relief and declaratory relief to redress Defendant’s past and continuing
violation of his rights under federal law.
JURISDICTION AND VENUE
The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, because
Plaintiff’s claims arise under federal statute, the Americans With Disabilities Act of
1990 as amended. In addition, this Court has jurisdiction over Plaintiff’ s claims for
declaratory relief, pursuant to 28 U.S.C. § 2201-02.
Venue is proper in the Eastem District of Michigan, Southem Division, because the
jurisdiction for the claim being brought against the Defendants is not founded solely
on diversity jurisdiction, and because the events, acts, and omissions giving rise to
Plaintiff’s claims occurred in this district pursuant to 28 U.S.C. § 1391.
PARTIES

Plaintiff, Aaron Scheidies is a thirty-year-old legally blind World class athlete
originally from Metro Detroit Who Wishes to compete in the athletic events Within the
Eastern District of Michigan and is a registered participant for an upcoming race
sponsored by 3-D Racing in Detroit, Michigan. (Exhibit A, Race Registration)n
Aaron Scheidies has standing to bring the present cause of action.

a. Plaintiff is physically disabled according to the definition provided by the

ADA, as he is “substantially impaired in the major life activity of seeing.”

 

CaS

THE

SAM BERNSTEIN
LAW FIRM

3|73| NORTHWESTERN H|GHWAY
SUITE 333
FARM|NGTON HlLLS,
M|CH|GAN 48334-1669

(800) 225-5726

A FROFESS|ONAL LlMlTED
LlABlL|TV COMPANY

 

 

10.

11.

12.

6 2212-CV-11842-P.]D-L.]|\/| ECF NO. 1 filed 04/25/12 Page|DA Page 4 Of 16

b. Plaintiff Wishes to compete in a triathlon event sponsored by 3-D Racing and
governed by ITU and USA Triathlon but is unable to safely do so as a result
of the policies and rules implemented by the Defendants.
Plaintiff has been, and continues to be, damaged by the policy of the
Defendants of requiring that he Wear “black out glasses” Which poses grave
harm to him and those around him during athletic competitions.
Plaintiff Will not be able to participate in triathlon events, free from the
danger of Defendants’ misguided policy, unless and until this Court enjoins
the Defendants from requiring the use of “black out glasses” by blind and
visually impaired athletes.
USA Triathlon is a private entity Within the meaning and definition of the ADA, as it
is a private organization Which regulates and sanctions the sport of Triathlon,
including the race sponsored by 3-D racing and national competitions Which are pre-
requisites to competing in ITU hosted events.
ITU is a private entity Within the meaning and definition of the ADA, as it is a private
organization Which also regulates and sanctions the sport of Triathlon.
3-D Racing is a private entity Within the meaning and definition of the ADA, as it is a
private organization Which administers triathlon competitions including but not
limited to the Motor City Triathlon held on Belle Isle.

FACTUAL ALLEGATIONS
Plaintiff incorporates by reference all allegations set forth in paragraphs 1 through 10,
inclusive.
The ITU is the World governing body for the sport of Triathlon and promulgates rules

and procedures for the administration of events that the organization sanctionsl

 

CaS

THE

SAM BERNSTEIN

LAW FIRM
31731 NoRTHWEsTERN HiGHwAv
susz 333
FARMINGTON HlLLS,
M|CH|GAN 48334-1669

 

(BOO) 225-5726

A PROFESS|ONAL LlM|TED
L|AB|L|T¥ COMPANV

 

 

13.

14.

15.

16.

17.

18.

19.

20.

e 2212-CV-11842-P.]D-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.B Page 5 Of 16

USA Triathlon is an organization which governs the sport of Triathlon in the United
States and also promulgates rules and procedures for the administration of triathlon
events.

3-D Racing is a private entity in the State of Michigan that serves as a “race director”
and hosts triathlon events sanctioned by USA Triathlon.

An athlete wishing to compete in world-wide events hosted by ITU must first qualify
in a race hosted by USA Triathlon. Similarly, an athlete wishing to compete in a
national event hosted by USA Triathlon must first qualify in a “sanctioned event”
hosted by an accredited race director such as 3-D Racing,

Defendants have acted jointly and severally to require Plaintiff who is legally blind to
wear “black out glasses” while competing With other disabled race participants in
triathlons.

Unlike an individual who is totally blind, a person who is visually impaired or legally
blind like Plaintiff, uses their residual vision and is not trained or adjusted to engage
in physical activities without sight.

Wearing “black out glasses” is not a suitable accommodation for Plaintiff as it results
in his inability to use what remaining vision he has for balance and coordination and
therefore places him, as well as those around him, in grave physical danger.

Plaintiff is now no longer able to safely compete in the sport of Triathlon as his
participation is conditioned on the use of a device which discriminates against him as
a legally blind athlete.

Plaintiff requests that his individual needs and circumstances be considered when
receiving accommodations to participate in events sponsored or regulated by the
Defendants. Despite being legally blind, Plaintiff’ s other accomplishments include

but are not limited to:

 

CaS

THE

SAM BERNSTEIN

LAW FIRM
3173| NoRTHwEsTERN HieHWAv
suiTE 333
FARM|NGTON H|LLSl
MlCH|GAN 48334-1669

(800) 225-5726

A FROFESSIONAL LlM|TED
LlABlL|TY COMF'ANV

 

 

21.

22.

23.

24.

3 2212-CV-11842-PJD-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.6 Page 6 Of 16

Plaintiff despite his disability earned a Bachelor’s Degree in Kinesiology
from Michigan State University.

Plaintiff despite his disability earned a Doctorate in Physical Therapy from
the University of Washington.

Plaintiff despite his disability has successfully completed the lronman
Competition which requires a 2.4 mile swim, 112 mile bike ride, and a full
26.2 mile marathon, all done consecutively

Plaintiff despite his disability is a seven-time triathlon World Champion and
eight-time triathlon National Champion.

As a direct and proximate result of the Defendants’ actions in requiring the use of
“black out glasses,” the Plaintiff is unable to equally participate in the sport of
Triathlon and instead will continue to be damaged by the Defendants’ requirement
that he put himself in physical danger if he wishes to compete in the sport.

The Defendants have seriously injured Plaintiff, and those similarly situated.
Plaintiff s injuries include, but are not limited to, emotional distress, time lost from
profession, time lost from social interaction, loss of earning capacity, loss of
camaraderie, and pain and suffering

On information and belief, Plaintiff alleges that the Defendants, through their agents
and employees, have acted intentionally, willfi,rlly, in bad faith, and / or with reckless
disregard and indifference for the federal legal rights of Plaintiff, and others with
disabilities, in committing the acts and omissions stated here.

Defendant continues to discriminate against Plaintiff and others based on their
disabilities, by denying Plaintiff and others with equal access to athletic competitions

and recreation, free from the discriminatory requirement they subject themselves to

 

CaS

THE

SAM BERNSTEIN
LAW FIRM

31731 NORTHWESTERN H|GHWAY
5UlTE 333
FARMlNGTON HILLSl
M|CH|GAN 48334-1669

 

(BOO) 225-5726

A PROFESS|ONAL LlM|TED
L|AB|L|TV COMPANV

3 2212-CV-11842-PJD-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.? Page 7 Of 16

additional physical limitations beyond those which already exist as a result of their
disability, and which pose an existential threat to them.
25. Plaintiff has also suffered threats and intimidation and has been previously
disqualified and threatened with disqualification for refusing to Wear the
discriminatory “black out glasses.”
26. Plaintiff has no adequate remedy at law. While Plaintiff reserves the right to seek
monetary relief, Plaintiff is not expressly doing so through this complaintl Plaintiff
seeks equitable relief to rectify Defendants’ ongoing acts and omissions, as stated
herein, and requests the requirement forcing a visually impaired or legally blind
individual to give up what remaining sight they have, be stricken.
27. In short, the Defendants in a misguided attempt to “level the playing field” have
adopted policies and procedures which astonishingly seek to “accommodate” persons
with disabilities by making them more disabled. The idea that a legally blind athlete
must become totally blind in order to participate in a recreational sport is unsafe,
unreasonable, and patently discriminatory

Count I

(Violation of Title III of the Americans With Disabilities Act., specifically, 28 CFR
36.302 et seq and related Against Defendants 3-D Racing, ITU, and USA Triathlon)

28. Plaintiff incorporates by reference all allegations set forth in paragraphs 1 through 27,
inclusive.

29. ln enacting the ADA, Congress expressly determined that society tends to isolate and
segregate people with disabilities, that people With disabilities continually encounter
prejudice and discrimination, including outright exclusion and the failure to eliminate
exclusionary criteria; that this nation should assure equality of opportunity for all

participation, independent living, and economic self-sufficiency to individuals with

 

 

 

Case 2:12-cV-11842-P.]D-L.]l\/| ECF No. 1 filed 04/25/12 Page|D.S Page 8 of 16

THE

SAM BERNSTEIN
LAW FIRM

3173| NORTHWESTERN HlGHWAV
SU|TE 333
FARM[NGTON HiLLS,
M|CH|GAN 48334-1669

 

(BOO) 225-5726

A PROFESS|ONAL LlM|TED
L|AB|L|TY COMFANY

 

 

30.

31.

32.

33.

34.

35.

36.

disabilities, and that continuing discrimination impedes them from competing on an
equal basis and pursuing opportunities available to other citizens 42 U.S.C.
§12101(a).

The express purpose of the ADA is to provide a clear and comprehensive national
mandate for eliminating discrimination against individuals with disabilities; to
provide clear, strong, consistent, enforceable standards addressing discrimination
against individuals with disabilities, and to ensure that the federal government plays a
central role in enforcing standards established in the Act on behalf of individuals with
disabilities 42 U.S.C. §12101(b).

The Plaintiff is a legally blind man who is a “qualified individual with a disability”
under the ADA.

The Defendants operate and enforce rules for the administration of triathlon events
which take place on race courses which constitute “places of public accommodation”
under the ADA.

3-D Racing, ITU, and USA Triathlon are “private entities” as defined by the ADA.
Defendants’ acts and omissions are in violation of the equal access and
nondiscrimination requirements set forth in Title lII of the ADA, and the regulations
promulgated thereunder, and have resulted in injury to Plaintiff and others With
disabilities

Through the acts and omissions alleged here, Defendants have acted in disregard of
Plaintiff’ s disability, excluded plaintiff, and those similarly situated from
participation in recreation and athletic competition, and subjected them to
discrimination, in violation of the ADA.

Title III of the Americans with Disabilities Act makes it illegal to discriminate

against a qualified person with a disability.

8

 

Cas

THE

SAM BERNSTEIN

LAW FIRM
3173\ NoRTHwEsTERN HiGHwAv
suiTE 333
FARM|NGTON HlLLS,
M|CH|GAN 48334-1669

(BOO) 225-5726

A PROFESS|ONAL LlM|TED
L|AE|L|TY COMPANY

 

 

37.

38.

39.

40.

41.

42.

3 2212-CV-11842-PJD-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.Q Page 9 Of 16

The implementing regulations for Title III of the Americans With Disabilities Act
state in pertinent part that “A public accommodation shall make reasonable
modifications in policies, practices, or procedures, When the modifications are
necessary to afford goods, services, facilities, privileges, advantages or
accommodations to individuals with disabilities . .” 28 CFR 36.302 (emphasis

added).

By the ITU creating and enforcing Rule 17.14(a)(ix) and by USA Triathlon creating
and enforcing Rule P 2.0(f), which require legally blind triathlon participants to Wear
“black out glasses,” and by 3-D Racing conducting an event in accordance with these
rules, the Defendants are failing to make a reasonable modification to their policies,
practices, or procedures and instead are forcing Plaintiff to compete under
discriminatory conditions

The discriminatory conditions Plaintiff is forced to compete under include, but are
not limited to, the further loss of his sense of sight which results in the lack of
coordination, balance, direction and has caused and will continue to cause Plaintiff to
suffer physical injury while competing in the sport.

Defendants' acts and omissions constitute an ongoing and continuous violation of
Title III of the ADA. Unless restrained and enjoined from doing so, Defendant will
continue to violate this statute and to inflict irreparable injuries for which Plaintiff has
no adequate remedy at law.

Upon information and belief, the Defendants have been, and continue to be aware of,
the discriminatory effects of their policies and procedures and yet have taken no
action to mitigate the effects thereof`.

As the entities that jointly create, enforce, and execute the policies and procedures for

the sport of Triathlon, the Defendants’ actions have caused, and Will continue to

9

 

Case

THE

SAM BERNSTEIN
LAW FIRM

31731 NcRTHwEsTERN HiGHWAv
SuiTE 333
FARM|NGTON HlLLSl
M|CH|GAN 48334-1669

(BOO) 225-5726

A PROFESS|ONAL LlM|TED
LIAB|L|TY COMPANV

 

 

2212-CV-11842-P.]D-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.lO Page 10 Of 16

43.

44.

45.

46.

47.

cause, significant injury and irreparable harm to the Plaintiff, and others with
disabilities Plaintiff’s injuries include, but are not limited to, emotional distress,
time lost from profession, time lost from social interaction, loss of earning capacity,
loss of camaraderie, and pain and suffering
As stated above, the Defendants have failed to comply with the non-discrimination
requirements of Title III of the Americans with Disabilities Act by requiring that
legally blind participants in triathlon events give up what remaining vision they have
and subject themselves to grave physical harm.

Count II

(Violation of Title V of the Americans with Disabilities Act specifically,
42 U.S.C.A. § 12203(b) Against Defendants ITU and USA Triathlon)

Plaintiff incorporated by reference all allegations set forth in paragraphs 1 through
43, inclusively.

The Plaintiff is a legally blind man who is a “qualified individual with a disability”
under the ADA.

Through the acts and omissions alleged here, Defendants have acted to coerce,
intimidate, threaten or interfere with Plaintiff’s exercise or enjoyment of rights
granted or protected by the ADA.

Title V of the Americans with Disabilities Act states in pertinent part that “lt shall be
unlawful to coerce, intimidate, threaten, or interfere with any individual in the
exercise or enjoyment of, or on account of his or her having exercised or enj oyed, or
on account of his or her having aided or encouraged any other individual in the
exercise or enjoyment of, any right granted or protected by this chapter.” 42 U.S.C.A.

§ 12203(b).

10

 

Case

THE

SAM BERNSTEIN
LAW FIRM

3|73| NORTHWESTERN H|GHWAY
SU|TE 333
FARM|NGTON H|LLS,
MlCH|GAN 48334-1669

(BOO) 225-5726

A PROFESS|ONAL LlM|TED
L|AE|L|TV COMPANV

 

 

48.

49.

50.

51.

52.

53.

54.

2212-CV-11842-P.]D-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.11 Page 11 Of 16

By the ITU promulgating and enforcing Rule 17.14(a)(ix) and by USA Triathlon
promulgating Rule P 2.0(f), these Defendants have “interfered” with the Plaintiffs
right to participate in the sport of triathlon, held in a place of public accommodation,
free from exclusionary and discriminatory criteria.

Rule 17. 14(a)(ix) and Rule P 2.0(f), directly discriminates against Plaintiff, and other
qualified individuals with disabilities, by mandating that the Plaintiff give up what
remaining vision he has as a condition of competing in the sport of Triathlon and
needlessly subjects Plaintiff and others similarly situated to grave physical danger.
The rules that the Defendants have promulgated require Plaintiff, and those similarly
situated, to be discriminated against during participation in the sport of Triathlon
racing by requiring them to become more disabled than they already are and face
grave physical danger.

Plaintiff has been disqualified previously by USA Triathlon for in part refusing to
abide by their discriminatory policies and procedures that require him to wear “black
out glasses”

Defendants’ rules “threaten” Plaintiff with future disqualification and sanctions if he
refuses to abide by their discriminatory policies and procedures

Upon information and belief, the Defendants have been, and continue to be aware of,
the discriminatory effects of their rules and yet have taken no action to mitigate the
effects of their policy.

As the governing entities responsible for the sport of Triathlon racing in the United
States, the Defendants’ actions have caused, and will continue to cause, significant
injury and irreparable harm to the Plaintiff, and others with disabilities Plaintiff’s

injuries include, but are not limited to, emotional distress, time lost from profession,

ll

 

Case

THE

SAM BERNSTEIN

LAW FIRM
31731 NORTHWESTERN H|GHWAV
SU|TE 333
FARM|NGTON HlLLSl
M|CH|GAN 48334-1669

 

(BOO) 225-5726

A FROFESS|ONAL LlM|TED
L|AE|L|TY COMPANV

 

 

2212-CV-11842-P.]D-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.12 Page 12 Of 16

55.

56.

57.

58.

59.

60.

time lost from social interaction, loss of earning capacity, loss of camaraderie, and

pain and suffering

Quitc simply, the Defendants by requiring the use of “black out glasses,” have made

it impossible for the Plaintiff, and those similarly situated, to compete in athletic

competitions without being forced to endure discriminatory policies and procedures

in violation of Title III of the Americans with Disabilities Act.

Rules 17. l4(a)(ix) and Rule P 2.0(f) governing Triathlons thus “intcrferes” and

“threatens” Plaintiff’ s rights under the Americans with Disabilities Act, including but

not limited to his right to participate in a recreational activity being offered in a place

of public accommodation

WHEREFORE, Plaintiff requests the relief set forth below.
W

Plaintiff prays for the following relief:

A declaration that the Defendants’ acts and omissions unlawfully violate Plaintiff’ s

rights under the Americans with Disabilities Act of 1990 (ADA).

An injunction restraining ITU and USA Triathlon from enforcing Rules 17. l4(a)(ix)

and Rule P 2.0(f) respectively, on Plaintiff and others With disabilities for whom the

rules Would have a discriminatory effect.

A further injunction restraining 3-D Racing from requiring Plaintiff to wear “black

out glasses” as a condition of participating in their events

A further injunction requiring the Defendants to provide individuals with disabilities

With full and equal access to the programs and services they offer, and restraining the

Defendants from discriminating against individuals with disabilities who Wish to

participate in Triathlon events

12

 

CaSe 2212-CV-11842-PJD-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.13 Page 13 Of 16

61. Although Plaintiff seeks no compensatory damages at this time, Plaintiff Wishes to
reserve the right to amend and request compensatory damages should it become
necessary to encourage the Defendants to comply with federal law.

62. Although Plaintiff seeks no actual attomey’s fees or costs, Plaintiff wishes to reserve
the right to amend and request attomey’s fees and costs should it become necessary to
encourage the Defendants to comply with federal law.

63. All other relief that this Court deems just and proper.

Respectfully submitted,

BMEW.A>

Richard H. Bemstein (P58551)

THE SAM BERNSTEIN LAW FIRM
Attomeys for Plaintiff Aaron Scheidies
31731 Northwestem Hwy Ste 333
Farmington Hills, MI 48334

(248) 737-8400

(248) 737-4392 (facsimile)
rbernstein@sambernstein.com

 

Dated: April 25, 2012

THE

SAM BERNSTEIN

1.:\\\" FIRM
3|?3! NQHYHWESTEHN HlGH'NAY
EU!‘l'E 333
FARM|NGTON H|LLS.
MlCH|GAN 113334-|669

iBOO} 225~3?2'.6

i\ PR:>FE$S|GNAL lei‘iF.tl
Ll.\aii_i‘rir COMP.»\NY

13

 

 

 

CaSe 2212-CV-11842-PJD-L.]|\/| ECF NO. 1 filed 04/25/12 Page|D.14 Page 14 Of 16

EXH|BlT-A

RACE REG|STRAT|ON

CaSe 2212-CV-11842-PJD-L.]i\/| ECF NO. 1 filed 04/25/12 Page|D.15 Page 15 Of 16

Emily Kramer

 

From: Aaron Scheidies <scheidil@gmail.com>
Sent: Wednesday, April 18, 2012 6:22 PM

To: Richard Bemstein

Subject: Fwd: Your order receipt from 3-D Racing, LLC.

Here this is again. This is the original email of registration confirmation that l received.

Aaron :)

---------- Forwarded message ----------

From: Active.com <su ort active.com>

Date: Wed, Feb 1, 2012 at 12:55 PM

Subj ect: Your order receipt from 3-D Racing, LLC.

To: scheidil @gmail.com

active.carn

Dear Aaron,

Thank you for your order With 3-D Racing, LLC.. P|ease save a copy of this receipt for your records

C_)rder_information

Order |D: C-O7PB7H42

Date: February 1, 2012 3:55 PM EST
Motor City Triathlon - individual - individual $80.00
What is your T-shirt size? - M $0.00
Grand subtota|: $80.00
* Processing fee: $4.80
Grand total: $84.80
Amount pald: -$84.80
Order balance: $0.00

Billing information

Billed to: Aaron Scheidies
818 NE106th St.
Apt 306
Seattle, Washington 98125
United States

scheidi1@gmaii.com

Payment type: l\/lasterCard *1107
Your card has been charged by /~\ctive.corn. This charge will appear as ACT*S D Racing on your billing statement

CaSe 2212-CV-11842-P.]D-L.]i\/| ECF NO. 1 filed 04/25/12 PagelD.16 Page 16 Of 16
endorse weems

if you have any questions about your order, please contact

Organization: 3-D Racingl LLC.
Po Box 458
Gayiord, Michigan 49?34
United States

kenn 3dieci iines.com
MZB§

‘ The total Prooessing Fee imposed by Thel Aciive Neiworl<. lnc.. or irs applicable subsidiary ioo|leciively "Ac:iive") includes sums charged by nolin as
consideration for providing iis software and services {ine|uding wilhoui limitation promotional and marketing services) to the activ`:ly organizer. These sums. as part
of the tolai Proceeeing Fee. are in addition lo any actual costs incurred by Aciiv@ from third pany providers for each transaction

Agive.com l Privacy goiin i Terms of service | Securiiy
© 2011 Powered by `l`he Aciive Neiworli

Aaron Scheidies

CDifferentwithAaron Inc.

Website: www.cdifferentwithaaron.com
Cell: 248-770-?’464

